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IN THE UNITED S'I`ATES DISTRlCT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

BETH CHANEY MacNEILL
VS.

NIRMAL JAYASEELAN, M.D.;
DOMINGO K. TAN, M.D.; CHAD
CARLTON, M.D.; TEXAS HEALTH
HARRIS METHODIST HOSPITAL FORT
WORTH; EMERGENCY MEDICINE
CONSULTANTS LTD.; BAYLOR ALL
SAINTS MEDICAL CENTER AT FORT
WORTH; and EMCARE, INC.

CIVIL ACTION NO. 4-14-CV-242-O

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I)EFENDANT EMERGENCY MEI)ICINE CONSULTANTS, LTD.’S
RULE 12(1))(6) M()TION TO DISMISS FOR FAILURE TO STATE
A CLAIM UPON WHICH RELIEF CAN BE GRANTED

Defendant Emergency Medicine Consultants, Ltd., one of the Defendants in the above-
styled and numbered cause (hereinafter “Defendant”) moves to dismiss Plaintiff’ s claims
pursuant to Federal Rule of Civil Procedure lZ(b)(6) for failing to state a claim upon which relief
can be granted

I.

Support for the 12(b)(6) Motion to Dismiss is set forth in Defendant’s Memoranduln in
Support of Rule 12(b)(6) Motion to Dismiss for Failure to State a Claim Upon Which Relief Can
be Granted.

WHERBFORE, Defendant urges this Court, upon consideration and review of
Defendant’s Memorandum in Support of Motion to Dismiss for Failure to State a Claim Upon

Which Relief Can be Granted, along with the other pleadings already a part of the Court’s record

 

Defendant Emergency Medicine Consultants, Ltd.’s Rule 12(b)(6) Motion to
Dismiss for Failure to State a Claim Upon Which Relief Can be Granted Page l

 

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in this case, to dismiss Plaintiff’s claims and cause of action against Defendant for failure to state

a claim upon Which relief can be granted and for further relief to which it may be justly entitled

under the law.

Respectfully submitted,

KRUEGER, BELL & BAILEY, LLP

By: /s/ Vernon L. Krueger
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Attorneys for Defendant
EMERGENCY MEDICINE CONSULTANTS, LTD.

CERTIFICATE OF SERVICE

l hereby certify that on May 6, 2014 we electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the Court. The electronic case filing system sent a “Notice of Electronic
Filing” to all attorneys of record who have consented to accept this Notice as service of this

document by electronic means.

/s/ Vernon L. Krueger

 

Defendant Emergency Medicine Cor:sultants, Ltd.’s Rule f2(b)(6) Motion to
Dismiss for Failure to State a Claim Upon Which Relief Can be Granted Page 2

 

